EXHIBIT A

Case 3:16-cv-00799 Document 149-1 Filed 07/05/19 Page 1 of 3 PagelD #: 3822

UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF TENNESSEE
NASHVILLE DIVISION

JOHN DOE, a minor, by and
through his Mother and next friend
SHARIEKA FRAIZER,

Plaintiff,

Vv. Case No.: 3:16-cv-00799
JUDGE Richardson/Brown

BONNIE HOMMRICH, et al

Defendants.

DECLARATION OF JENNIFER M. KEQUGH REGARDING
SERVICE OF CAFA NOTICE

I, Jennifer M. Keough, hereby declare as follows:

1. I am the Chief Executive Officer of JND Legal Administration LLC (“JND”). JND
has been retained to Administer the CAFA Notice Mailing in the above-captioned matter. This
Declaration is based on my personal knowledge, as well as upon information provided to me by
experienced JND employees, and if called upon to do so, I could and would testify competently to
the facts set forth herein.

2. Pursuant to the Class Action Fairness Act of 2005, 28 U.S.C. § 1715, on April 4,
2019, JND sent on behalf of Bonnie Hommrich, the Tennessee Department of Children’s Services,
and Rutherford County, Tennessee, notices of the class action settlement, including all pertinent
documents listed in 28 U.S.C. § 1715(b), in this case to the United States Attorney General and to

the appropriate state officials. True and correct copies of the letters sent to federal and state

Case 3:16-cv-00799 Document 149-1 Filed 07/05/19 Page 2 of 3 PagelD #: 3823
officials and a list of the federal and state officials to whom letters were sent are attached hereto
as Exhibit A.
3: JND sent the CAFA Notice with Tracking to monitor the deliverability status of

each packet. JND confirms that all CAFA Notices were delivered on or before April 15, 2019.

I declare under penalty of perjury under the laws of the United States that the foregoing is

true and correct.

Executed this 29th day of April, 2019 at Seattle, Washington.

BY Jeu WM Vea L

JENNIFER M. KEOUGH

SWORN TO AND SUBSCRIBED before me this 29th day of April, 2019.

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Lillie VUE | (fot MELLISSA H VELO-SIMPSON
Notary Public of the State i Washington STAN OY WASHINGTON
My Commission Expires: 09-16-2022 License Number 16726

My Commission Expires September 16, 2022

Case 3:16-cv-00799 Document 149-1 Filed 07/05/19 Page 3 of 3 PagelD #: 3824
